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                      EXHIBIT D
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                                                                                                                                              USOO6968248B1


(12) United States Patent                                                                (10) Patent No.:                                                                                         US 6,968,248 B1
       Mata et al.                                                                       (45) Date of Patent:                                                                                                 Nov. 22, 2005
(54) AGENT REACTIVE SCHEDULING IN AN                                                         5,696.689 A * 12/1997 Okumura et al. ........... 700/121
        AUTOMATED MANUFACTURING                                                              5,943,652 A * 8/1999 Sisley et al. ................... 705/9
        ENVIRONMENT                                                                                                                   OTHER PUBLICATIONS
(75) Inventors: Gustavo Mata, Austin, TX (US);                                 “A Dynamic Reactive Scheduling Mechanism for Respond
                Steven C. Nettles, Johnson City, TX                            ing to Changes of Production Orders and Manufacturing
                (US); Larry D. Barto, Austin, TX                               Resources', 2001, Elsevier Science.
                (US); Yiwei Li, Austin, TX (US)
                                                                               * cited by examiner
(73) Assignee: Advanced Micro Devices, Inc., Austin,
                TX (US)                                                        Primary Examiner Jayprakash N. Gandhi
(*) Notice: Subject to any disclaimer, the term of this                        (74) Attorney, Agent, or Firm-Williams, Morgan &
                patent is extended or adjusted under 35                        AmerSon, P.C.
                U.S.C. 154(b) by 0 days.
(21) Appl. No.: 11/151,098                                                     (57)                                                                      ABSTRACT
(22) Filed:          Jun. 13, 2005
                                                                               A method and apparatus for Scheduling in an automated
            Related U.S. Application Data                                      manufacturing environment, comprising are disclosed. The
(63) Continuation of application No. 10/135,145, filed on                      method includes detecting an occurrence of a predetermined
     Apr. 30, 2002, now Pat. No. 6,907.305.                                    event in a proceSS flow; notifying a Software Scheduling
                 s       s                     s-Y s                           agent of the occurrence, and reactively Scheduling an action
(51) Int. Cl. ............................................... G06F 1900        from the Software scheduling agent responsive to the detec
(52) U.S. Cl. ........................ 700.99,700/100,700,121
                                                     s             70sls
                                                                               tion of the predetermined event. The apparatus is automated
                                                                               manufacturing environment including a process flow and a
                                                                               computing System. The computing System further includes a
(58) Field of Search .......................... 700/99, 100, 101,              plurality of Software Scheduling agents residing thereon, the
                                                 700/117, 121; 705/8           Software Scheduling agents being capable of reactively
(56)                     References Cited                                      Scheduling appointments for activities in the process flow
                                                                               responsive to a plurality of predetermined events.
                 U.S. PATENT DOCUMENTS
       4,994,980 A           2/1991 Lee et al. ................... 700/173                                                22 Claims, 6 Drawing Sheets


                110 -
             205

                                                                                                                                                                                                                 210

                                                                                                                                                                                                                200
                                                                               OPERATING SYSTEM                                                                                                                 265
                                                                                   SOFTWARE AGENT                                                                                                               270
                                                                                                                          MES
                                                                                         -   - -   -   -   - -   - -   a- -   -   -   -   -   -   - -   - -   -   -   -   -   -   -       -   -   -   -   -     255




                                                                                    USER INTERFACE
                                                                                      SOFTWARE
                                                                             w &   w w       w w           w a     is a           a w               . . . . . .           . . .       .       .   . w a         280


                                                                                   AMHS SOFTWARE
                                                                                         COMPONENT(S)
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  100 - a               110 - A st

    105-A                                           120




                                       130
   130         PROCES                              PROCES          130
               STOOL                               S TOOL
                                      135
         115                  140     145                   115



                              FIG.

                                                                    210

                                                                   200
                                      OPERATING SYSTEM             265
                                       SOFTWARE AGENT              270
                                                    S
                                                                   255

                                                                   280
                                        AMHS SOFTWARE
                                         COMPONENT(S)
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     LOT                                       APP,
    AFTER                            PPl - APP
    SET          APF                APP,       3




    BEFOR
    E SHIFT

    LOT

    LOT                             APP
            --         - SHIFT
    LOT
    AER
               tC


                           FIG. 6B
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     AGENT REACTIVE SCHEDULING IN AN                              numerous parts, typically 40,000 waferS or more, and
       AUTOMATED MANUFACTURING                                    numerous part types, typically 100 part types or more, are
              ENVIRONMENT                                         Simultaneously being manufactured. AS each wafer moves
                                                                  through the Semiconductor factory (or, “fab'), it may
   This is a continuation of application Ser. No. 10/135,145      undergo more than 300 processing Steps, many of which use
filed Apr. 30, 2002, issued Jun. 14, 2005, as U.S. Pat. No.       the Same machines. A large factory may contain approxi
6,907,305.                                                        mately 500 computer-controlled machines to perform this
   The United States Government has a paid-up license in          wafer processing. Routing, Scheduling, and tracking mate
this invention and the right in limited circumstances to          rial through the fab is a difficult and complicated task, even
require the patent owner to license others on reasonable          with the assistance of a computerized factory control Sys
terms as provided for by the terms of Award No.                   tem.
70NANB7H3041 awarded by the United States Department                 Efficient management of a facility for manufacturing
of Commerce, National Institute of Standards and Technol         products Such as Semiconductor chips requires monitoring
ogy (“NIST).                                                     various aspects of the manufacturing process. For example,
                                                              15 it is typically desirable to track the amount of raw materials
           BACKGROUND OF THE INVENTION                           on hand, the Status of work-in-proceSS and the Status and
                                                                 availability of machines and tools at every Step in the
   1. Field of the Invention                                     process. One of the most important decisions is Selecting
   This invention pertains to automated manufacturing envi which lot should run on each machine at any given time.
ronments, and, more particularly, to Scheduling in an auto Additionally, most machines used in the manufacturing
mated manufacturing environment.                                 process require Scheduling of routine preventative mainte
   2. Description of the Related Art                             nance (“PM”) and equipment qualification (“Qual”) proce
   Growing technological requirements and the Worldwide dures, as well as other diagnostic and reconditioning pro
acceptance of Sophisticated electronic devices have created cedures that must be performed on a regular basis. These
an unprecedented demand for large-scale, complex, inte 25 procedures should be performed Such that they do not
grated circuits. Competition in the Semiconductor industry impede the manufacturing process itself.
requires that products be designed, manufactured, and mar            One approach to this issue implements an automated
keted in the most efficient manner possible. This requires “Manufacturing Execution System” (“MES”). An auto
improvements in fabrication technology to keep pace with mated MES enables a user to view and manipulate, to a
the rapid improvements in the electronics industry. Meeting limited extent, the Status of machines and tools, or “entities,”
these demands Spawns many technological advances in in a manufacturing environment. In addition, an MES per
materials and processing equipment and Significantly mits dispatching and tracking of lots or work-in-process
increases the number of integrated circuit designs. These through the manufacturing process to enable resources to be
improvements also require effective utilization of computing managed in the most efficient manner. Specifically, in
resources and other highly Sophisticated equipment to aid, 35 response to MES prompts, a user inputs requested informa
not only design and fabrication, but also the Scheduling, tion regarding work-in-proceSS and entity Status. For
control, and automation of the manufacturing process.            example, when a user performs a PM on a particular entity,
   Turning first to fabrication, integrated circuits, or micro the operator logs the performance of the PM (an “event”)
chips, are manufactured from modern Semiconductor into an MES screen to update the information stored in the
devices containing numerous Structures or features, typically 40 MES database with respect to the status of that entity.
the size of a few micrometers. The fabrication proceSS Alternatively, if an entity is to be put down for repair or
generally involves processing a number of wafers through a maintenance, the operator will log this information into the
Series of fabrication tools. Layers of materials are added to, MES database, which then prevents use of the entity until it
removed from, and/or treated on a Semiconducting Substrate is Subsequently logged back up.
during fabrication to create the integrated circuits. The 45 Although MES systems are sufficient for tracking lots and
fabrication essentially comprises the following four basic machines, Such Systems Suffer Several deficiencies, the most
operations:                                                      obvious of which are their passive nature, lack of advance
   layering, or adding thin layers of various materials to a Scheduling and inability to Support highly automated factory
      wafer from which a Semiconductor is produced;              operations. Current MES Systems largely depend on manu
   patterning, or removing Selected portions of added layers, 50 facturing perSonnel for monitoring factory State and initiat
   doping, or placing Specific amounts of dopants in Selected ing activities at the correct time. For example, a lot does not
      portions of the wafer through openings in the added begin processing until a wafer fab technician (“WFT)
      layers, and                                                issues the appropriate MES command. And, prior to pro
   heat treating, or heating and cooling the materials to cessing, a WFT must issue an MES command to retrieve the
      produce desired effects in the processed wafer.         55 lot from the automated material handling system (“AMHS)
   Although there are only four basic operations, they can be with Sufficient advance planning that the lot is available at
combined in hundreds of different ways, depending upon the the machine when the machine becomes available. If the
particular fabrication process. See, e.g., Peter Van Zant, WFT does not retrieve the lot soon enough, or neglects to
Microchip Fabrication A Practical Guide to Semiconductor initiate processing at the earliest available time, the machine
Processing (3d Ed. 1997 McGraw-Hill Companies, Inc.) 60 becomes idle and production is adversely impacted.
(ISBN 0-07-067250-4). Each fabrication tool performs one            These types of deficiencies in the typical automated MES
or more of four basic operations. The four basic operations emphasize the importance of the WFT in the efficient
are performed in accordance with an overall process to operation of the manufacturing process. WFTS perform
finally produce the finished Semiconductor devices.              many vital functions. For instance, WFTs initiate dispatch
   Controlling a Semiconductor factory fabricating Such inte 65 ing, transport, and processing as their attention and time
grated circuits, however, is a challenging task. A Semicon permits. They make Scheduling decisions Such as whether to
ductor factory (“fab') is a complex environment where run an incomplete batch, as opposed to waiting for addi
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tional approaching lots, or performing PM or qualification         in a proceSS flow; notifying a Software Scheduling agent of
procedures instead of processing lots. WFTS perform non            the occurrence, and reactively Scheduling an action from the
value added MES transactions and utilize conventional              Software Scheduling agent responsive to the detection of the
factory control Systems that are passive. In this context, the     predetermined event. Alternative embodiments include a
term "passive” means activities in the control System must         computing System programmed to perform this method and
be initiated by the WFT, as opposed to being self-starting or      a computer-readable program Storage medium encoded with
Self-initiating.                                                   instructions to implement this method. In Still another
   However, the presence of WFTs also inevitably intro embodiment, the invention includes automated manufactur
duces Some inefficiencies. There typically is a large differ ing environment, comprising a process flow and a comput
ence between the performance of the best WFT and the ing System. The computing System further includes a plu
performance of the worst WFT. A WFT typically simulta rality of Software Scheduling agents residing thereon, the
neously monitors the processing of multiple tools and lots, Software Scheduling agents being capable of reactively
making it difficult to focus on an individual lot or tool. Scheduling appointments for activities in the process flow
Furthermore, the size and complexity of the modern fabri responsive to a plurality of predetermined events.
cation process flows makes it exceedingly difficult for a 15
WFT to foresee and prevent downstream bottlenecks or                     BRIEF DESCRIPTION OF THE DRAWINGS
Shortages arising from upstream activities. Shift changes,
rest breaks, and days off for the WFT also create inefficien         The invention may be understood by reference to the
cies or machine idle time that adversely impact the manu following description taken in conjunction with the accom
facturing process flow. Just as the importance of the WFT is panying drawings, in which like reference numerals identify
magnified by the deficiencies of the automated MES, so are like elements, and in which:
the inefficiencies of the WFT magnified by his importance.           FIG. 1 conceptually depicts a portion of one particular
   Thus, factory control Systems utilized in today's wafer embodiment of a proceSS flow constructed and operated in
tabs are passive and do not enable a high degree of auto accordance with the present invention;
mation. These systems are very dependent on WFTs and 25 FIG. 2 conceptually depicts, in a partial block diagram,
other factory staff to monitor the state of the factory, to Selected portions of the hardware and Software architectures,
continuously react to change, to make rapid logistical deci respectively, of the computing devices in FIG. 1;
Sions, and to initiate and coordinate factory control activity       FIG. 3 conceptually depicts one particular implementa
in a timely manner. These WFTS are agents, providing the tion of the apparatus of FIG. 1, i.e., in a portion of a process
active element that is lacking in factory control Systems. AS flow from a Semiconductor fabrication facility, and the
a result, factory effectiveneSS in the highly competitive manner in which it Schedules appointments for the consump
semiconductor industry is quite dependent on the availabil tion of resources,
ity, productivity, skill level, and consistency of these human       FIG. 4 conceptually depicts a calendar of booked appoint
agents. WFTs must monitor and operate a number of tools ments,
located in various bays in a fab. They are forced to multiplex 35 FIG. 5 conceptually illustrates three related calendars of
acroSS tools, bays, material handling Systems and a variety booked appointments,
of factory control Systems. As a fab's production ramps and          FIG. 6A and FIG. 6B conceptually illustrates the changing
more complex processes are introduced, it becomes more of booked appointments to take advantage of early Start
difficult to meet the increased complexity and volume with times, and
out increasing staff or system capabilities. WFTs visibility of 40 FIG. 7A and FIG. 7B conceptually illustrate two circum
upstream and downstream operations, tool State, work-in stances in which booked appointments are changed to
proceSS and resource availability is limited.                      accommodate unexpectedly long durations for preceding
   However, key logistical decisions are frequently based on booked appointments.
this limited and dated information, which is only partially          While the invention is susceptible to various modifica
provided by factory control systems. WFTS spend a signifi 45 tions and alternative forms, specific embodiments thereof
cant amount of time interacting with Systems, monitoring have been shown by way of example in the drawings and are
factory events and State changes, and performing other herein described in detail. It should be understood, however,
non-value added functions, Such as MES logging. Shift that the description herein of Specific embodiments is not
changes disrupt the operation of the fab as the technicians intended to limit the invention to the particular forms
are temporarily unable to provide required monitoring and 50 disclosed, but on the contrary, the intention is to cover all
coordination. Despite the best efforts of the technicians, modifications, equivalents, and alternatives falling within
utilization of tools Suffer, adversely impacting other key the Spirit and Scope of the invention as defined by the
factory metrics including cycle time, inventory levels, fac appended claims.
tory output and mix. With the need for intrabay material
handling to transport 12-inch wafers in new 300 mm wafer 55                   DETAILED DESCRIPTION OF THE
fabs, Significant additional complexity is introduced. Con                               INVENTION
ventional factory control Systems are not capable of provid
ing this level of detailed Scheduling and execution control.         Illustrative embodiments of the invention are described
   The present invention is directed to resolving, or at least below. In the interest of clarity, not all features of an actual
reducing, one or all of the problems mentioned above.           60 implementation are described in this specification. It will of
                                                                   course be appreciated that in the development of any Such
             SUMMARY OF THE INVENTION                              actual embodiment, numerous implementation-specific
                                                                   decisions must be made to achieve the developerS Specific
   The invention, in its various aspects and embodiments, is goals, Such as compliance with System-related and busineSS
a method and apparatus for Scheduling in an automated 65 related constraints, which will vary from one implementa
manufacturing environment. In one embodiment, a method tion to another. Moreover, it will be appreciated that Such a
comprises detecting an occurrence of a predetermined event development effort, even if complex and time-consuming,
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would be a routine undertaking for those of ordinary skill in    desktop computer, a mini-computer, a mainframe computer,
the art having the benefit of this disclosure.                   or a Supercomputer. The computing device 110 may even be,
   FIG. 1 conceptually illustrates a portion of one particular   in Some alternative embodiments, a processor or controller
embodiment of a process flow 100 constructed and operated        embedded in the process tool 115. The invention also is not
in accordance with the present invention. The process flow       limited to UNIX-based operating systems. Alternative oper
100 fabricates semiconductor devices. However, the inven         ating systems (e.g., WindowsTM-, LinuxTM-, or disk operat
tion may be applied to other types of manufacturing pro          ing system (“DOS”)-based) may also be employed. The
cesses. Thus, in the process flow 100 discussed above, the       invention is not limited by the particular implementation of
lots 130 of wafers 135 may be more generically referred to       Such features in the computing device 110.
as “work pieces.” The process tools 115 and any process            The computing device 110 also includes a processor 205
operations performed thereon need not necessarily be related     communicating with storage 210 over a bus system 215. The
to the manufacture of Semiconductor devices in all embodi        Storage 210 typically includes at least a hard disk (not
ments. However, for the sake of clarity and to further an shown) and random access memory (“RAM”) (also not
understanding of the invention, the terminology pertaining shown). The computing device 110 may also, in Some
to Semiconductor fabrication is retained in disclosing the 15 embodiments, include removable Storage Such as an optical
invention in the context of the illustrated embodiments.      disk 230, or a floppy electromagnetic disk 235, or some
   The illustrated portion of the process flow 100 includes other form, Such as a magnetic tape (not shown) or a Zip disk
two stations 105, each station 105 including a computing (not shown). The computing device 110 includes a monitor
device 110 communicating with a process tool 115. The 240, keyboard 245, and a mouse 250, which together, along
stations 105 communicate with one another over commu          with their associated user interface software 255 comprise a
nications links 120. In the illustrated embodiment, the          user interface 260. The user interface 260 in the illustrated
computing devices 110 and the communications links 120 embodiment is a graphical user interface (“GUI”), although
comprise a portion of a larger computing System, e.g., a this is not necessary to the practice of the invention.
network 125. The process tools 115 in FIG. 1 are processing     Each computing device 110 includes, in the illustrated
lots 130 of wafers 135 that will eventually become inte 25 embodiment, a Software agent 265 residing in the Storage
grated circuit devices. The process flow 100 also includes 210. Note that the software agents 265 may reside in the
portions of a MES and an automated materials handling process flow 100 in places other than the computing devices
system (“AMHS”), neither of which is shown for the sake of 110. The situs of the software agent 265 is not material to the
clarity, and other integrated factory controls. The AMHS practice of the invention. Note also that, Since the Situs of the
“handles” the lots 130 and facilitates their transport from Software agents 265 is not material, Some computing devices
one station 105 to another, as well as other locations in the 110 may have multiple software agents 265 residing thereon
process flow 100.                                             while other computing devices 110 may not have any. Thus,
   AS mentioned above, the computing devices 110 may be there need not be a one-to-one correspondence between the
part of a larger computing System 125 by a connection over computing devices 100 and the process tools 115. Software
the communications linkS 120. Exemplary computing Sys 35 component(s) 270, 280 of an automated MES, such as
tems in Such an implementation would include local area WORKSTREAMTM, and of an AMHS, respectively, also
networks (“LANs”), wide area networks (“WANs”), system reside on at least one computing device 110. AS with the
area networks ("SANs”), intranets, or even the Internet. The     software agent(s) 265, the software components 270, 280
computing System 125 employs a networked client/server may reside anywhere within the process flow 100.
architecture, but alternative embodiments may employ a 40 Referring now to FIG. 1 and FIG. 2, the software agents
peer-to-peer architecture. Thus, in Some alternative embodi 265 each represent Some "manufacturing domain entity,”
ments, the computing devices 110 may communicate e.g., a lot 130, a process tool 115, a resource, a PM, or a
directly with one another. The communications links 120 Qual. A process tool 115 may be a fabrication tool used to
may be wireless, coaxial cable, optical fiber, or twisted wire fabricate Some portion of the waferS 135, i.e., layer, pattern,
pair links, for example. The computing System 125, in 45 dope, or heat treat the wafers 135. Or, the process tool 115
embodiments employing one, and the communications links may be a metrology tool used to evaluate the performance of
120 will be implementation specific and may be imple various parts of the process flow 100. The software agents
mented in any Suitable manner known to the art. The 265, collectively, are responsible for efficiently scheduling
computing System 125 may employ any Suitable communi and controlling the lots 130 of wafers 135 through the
cations protocol known to the art, e.g., Transmission Control 50 fabrication process. In furtherance of these objectives, the
Protocol/Internet Protocol (“TCP/IP”).                           Software agents 265 interface with the software components
   FIG. 2 depicts selected portions of the hardware and 270, 280 of the MES and AMHS, respectively, and are
Software architectures of the computing devices 110. Some integrated with other existing factory control Systems (not
aspects of the hardware and Software architecture (e.g., the shown). The Software agents 265, where appropriate, also
individual cards, the basic input/output system (“BIOS"), 55 interface with the process tools 115 and other equipment
input/output drivers, etc.) are not shown. These aspects are through a Software implemented “equipment interface”
omitted for the Sake of clarity, and So as not to obscure the (“EI”) (not shown). As will be apparent to those skilled in
present invention. AS will be appreciated by those of ordi the art having the benefit of this disclosure, the manner in
                                                           which this interface and integration occurs is implementa
nary skill in the art having the benefit of this disclosure,
however, the Software and hardware architectures of the 60 tion specific, depending upon the makeup and configuration
computing devices 110 will include many Such routine of the MES, the AMHS, and the other factory control
features.                                                        Systems.
   In the illustrated embodiment, the computing device 110    Of particular interest to the present invention, the Software
is a WorkStation, employing a UNIX-based operating System agents 265 reactively Schedule, initiate, and execute activi
200, but the invention is not so limited. The computing 65 ties on behalf of their respective manufacturing domain
device 110 may be implemented in virtually any type of entities. In the illustrated embodiment, the Software agents
electronic computing device Such as a notebook computer, a 265 also proactively schedule activities. Collectively, the
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Software agents 265, among other things, Schedule ahead for             More particularly, when the software agents 265 are
each lot 130 one or more operations on a Specific qualified          created, they create listenerS and Subscribe to published
process tool 115, including transports and required                  events by adding the listeners to the event publisher. Lis
resources, as discussed further below. This includes making          teners enable the software agents 265 to react to events in the
optimizing decisions Such as running an incomplete batch,            process flow 100 in an appropriate manner. Table 1, below,
as opposed to waiting for an approaching lot 130, and                lists the relevant software agents 265 employed in the
scheduling opportunistic preventive maintenance (“PM”)
procedures or qualification tests ("Quals”) to meet specifi          illustrated embodiment, the listeners they create, and a
cations. The software agents 265 schedule and initiate               description of their function. Note that the use of publishers
activities Such as lot transport and processing, perform MES         and Subscribers via listenerS and notifiers in this manner is
transactions, monitor processing and transport; and react to         known to the art, and any Suitable technique may be
unscheduled activities or deviations from Scheduled activi           employed.
ties. Furthermore, in the illustrated embodiment, the Soft
ware agents 265 are configurable in a manner that allows a                                 TABLE 1.
user to influence their behavior in order to tune the perfor 15
mance of the process flow 100.                                               Software Agents and Associated Listeners
   In the illustrated embodiment, the scheduling agents 265 Software Agent Associated Listeners Reason for Subscribing
are typed by the manufacturing domain entities they repre
Sent. There may be many different types of Scheduling resource  RSA (e.g., a Equipment Event Listens to events from the Equip
agents 265, depending on the implementations. The prin ing agent)load- Listener                   ment Interface. Events may include
                                                                                                  loading started, charging started,
ciple types of Scheduling agents 265 in the illustrated                                           loading completed, charging
embodiment, shown in FIG. 3, include:                                                                      completed, etc.
  a Lot Scheduling Agent (“LSA') 305 that schedules                                Machine Listener        Listens to MES events that occur
     activities on behalf of lots 130 of wafers 135;                                                       on the machine. For example, it
                                                                                                           listens when a machine is not
  a Machine Scheduling Agent (“MSA”) 310 that schedules 25                                                 available and reacts appropriately.
     activities on behalf of process tools 115;                                    Process Operation       Listens to changes within a process
  a PM Scheduling Agent (“PMSA”) 315 that schedules                                Listener                operation since it might change the
                                                                                                           processing capability of a machine.
     activities on behalf of PMs and Quals (not shown); and                        Process Listener        Listens to changes within a process
  a Resource Scheduling Agent (“RSA')320 that schedules                                                    since it might change the process
     activities on behalf of resources (not shown).                                Alarm Listener
                                                                                                           ing capability of a machine.
                                                                                                       Listens to alarms that have been set
However, other types may be employed in addition to, or in                                             at start or end times for scheduled
lieu of, those shown. The roles and functions of each of these                                         activities.
                                                                                   Schedule Advertise- Listens to "advertised time slots
of scheduling agents 265 in the illustrated embodiment will                        ment Listener           for scheduled appointments that
be more fully discussed below.                                 35                                          have not started.
   Some of these activities are Scheduled reactively, i.e., in                     Appointment State       Listens to any corresponding
response to events occurring in, e.g., the process flow 100,                       Change Listener         appointments on scheduling
in accordance with the present invention. In one particular                                                calendars of other agents that
                                                                                                           might affect its calendar.
embodiment, this includes:                                           LSA           Alarm Listener          Listens to alarms that have been
  detecting an occurrence of a predetermined event in a 40                                                 set at start or end times for
    process flow, e.g., the process flow 100;                                      Lot Listener
                                                                                                           scheduled activities.
                                                                                                           Listens to MES events that occur
  notifying a Subscribing Software Scheduling agent, e.g.,                                                 on the lot, such as product change,
     the LSA305, the MSA310, the PMSA315, or the RSA                                                       priority change, wafer count, and
     320, of the occurrence; and                                                                           SO O.
   reactively Scheduling an action responsive to the detection 45                  AMHS Listener           Listens to changes in the location
      of the predetermined event.                                                                          of the lot of represented by the
                                                                                                           LSA.
The predetermined event and the reactively Scheduled action                        Appointment State       Listens to any corresponding
will be implementation Specific. Several exemplary events                          Change Listener         appointments on scheduling
                                                                                                           calendars of other agents that
and reactively Scheduled actions are discussed further                                                     might affect its calendar.
below.                                                           50 MSA            Alarm Listener          Listens to alarms that have been set
  Note that this type of reactive Scheduling implies a                                                     at start or end times for scheduled
                                                                                                           activities.
knowledge that Such events are occurring within the proceSS                        Process Operation       Listens to changes within a process
flow 100. To this end, the software agents 265 respond to                          Listener                operation since it might change the
additional Software components, not shown, known as “pub                                                   processing capability of a machine.
lishers” (or, “notifiers”) and “subscribers.” Agents create 55                     Machine Listener        Listens to MES events occurring
listeners which Subscribe to one or more notifiers. Notifiers                                              on the machine. For example, it
                                                                                                           listens when a machine is not
“publish' events to their subscribing listeners when changes                                               available.
occur within the factory. Listeners, in turn, call their Sub                       Appointment State       Listens to any corresponding
scribing software agent 265. For example, when a MSA is                            Change Listener         appointments on scheduling
created, the agent will create a machine listener that Sub 60                                              calendars of other agents that
scribes to specific machine events. The MSA is interested in                                               might affect its calendar.
receiving any changes that occur to a particular machine. For                      Chamber Listener        Listens to MES events that occur at
example, if the availability of the machine changes, the                                                   chamber level, such as downtime,
                                                                                                           PM, or Quals.
publisher will publish the event to all of its listeners. The                      Process Listener        Listens to changes within a process
machine listener will then notify the subscribing MSA about 65                                             since it might change the process
the event. The subscribing MSA will then react appropri                                                    ing capability of a machine.
ately.
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                                                                                 ment to manipulate its respective corresponding appoint
                        TABLE 1-continued                                        ment. For example, in FIG. 5, the LSA305 contains a move
                                                                                 appointment MOVE followed by the lot processing
                Software Agents and Associated Listeners                         appointment TOOL. If the end time for the move appoint
Software Agent Associated Listeners Reason for Subscribing                       ment MOVE arrives but the appointment is not finished, an
               Equipment Event Listens to events from the Equip
                                                                                 alarm listener notifies the LSA305. (“Alarms” are one type
               Listener             ment Interface. Events may include
                                                                                 of event listened for, and are discussed further below.) The
                                    carrier arriving at the machine port,        LSA305 then expands the duration of the move appointment
                                    processing started, processing near          MOVE by a configurable amount of time, but also shifts the
                                    complete, carrier departed, etc.             lot processing appointment TOOL to accommodate the
PM Scheduling Chamber Listener Listens to MES events that occur at               expansion of the move appointment MOVE.
Agent                               chamber level, such as downtime,
(“PMSA)                             PM, or Quals.                                  At the same time, the alarm listener for the MSA310 will
                Machine Listener       Listens to MES events that occur          notify it that the Start of the lot processing appointment
                                       on the machine. For example, it
                                       listens when a machine is not
                                                                                 TOOL has arrived. Since the LSA 305 can best determine
                                       available.
                                                                    when the lot LOT should arrive at the process tool 115, the
                                                                            15
               Qual Collection   Listens to any new Quals or        LSA 305 shifts the start time of the lot processing appoint
               Listener          deleted Quals.                     ment TOOL after expanding the move appointment. The
               PM Collection     Listens for any new PMs or deleted MSA310 will wait for its appointment state change listener
               Listener          PMs.
               Appointment State Tracks changes to any appoint
                                                                    to notify it of the shift to the lot processing appointment, will
               Change Listener   ments that might affect his        find its counterpart lot processing appointment, and shift it
                                 calendar.                          accordingly. In this circumstance, the MSA 310 will ignore
                                                                    its own start time alarm. Although not shown, the lot 130,
                                                                    process tool 115, resources, and PMs and Quals all have
   As is evident from Table 1, the software agents 265 listed corresponding “processing agents, also not shown, that are
therein listen to appointment changes that might affect their 25 notified by the Scheduling agents when Significant events
calendar. Consider, for example, FIG. 5 (discussed in more occur that may require processing.
detail below) in conjunction with Table 1. FIG. 5 illustrates          In furtherance of their proactive and reactive Scheduling
different appointments (SETUP, LOT, MOVE, TOOL, duties, the Software agents 265 maintain calendars, Such as
PM, QUAL, etc.) that are contained within the calendars for the calendar conceptually illustrated in FIG. 4, of scheduled
each of several agents (the MSA for TOOL, the LSA for “appointments.” FIG. 4 conceptually illustrates a calendar
LOT, a PMSA, and a RSA). FIG. 5 also illustrates corre containing information concerning appointments for, e.g., a
Sponding appointments between those calendarS. Fe: process tool 115 for a number of lots 130. An “appointment”
example, the MSA calendar contains a processing appoint is a time period certain in which the process tool 115 has
ment LOT that corresponds with the processing appoint obligated itself to perform the proceSS operation, and is
ment TOOL on the LSA calendar. These two appointments 35 defined by an Appointment Start Time (“TS”) and an
are actually for the same event (i.e., the processing of LOT                     Appointment End Time ("TE"). In the illustrated embodi
on TOOL) made by two different entities (i.e., the MSA and                       ment, the appointments are booked within “commitment
the LSA, respectively) for two different entities (i.e., the lot                 windows” ("CW"), or time windows defined by an Earliest
LOT and the processing tool TOOL).                                               Start Time for processing (“EST") and a Latest Delivery
   Referring now to both FIG. 3 and FIG. 5, when corre 40 Time (“LDT."). The client lot 130 commits to arrive at the
sponding appointments (e.g., LOT, TOOL) are created, the         process tool 115 no later than the EST and the process tool
appointments themselves may contain a collection of listen       115 commits to complete the processing no later than the
ers, e.g., the listeners 356, 358 in FIG. 3. Listeners are added LDT. Note, however, that the use of commitment windows
to the appointment when other Software agents 265 want to are not necessary to the practice of the invention.
be notified that the appointment has changed. In this case, 45 In FIG. 4, the process tool 115 has booked appointments
the lot processing appointment LOT on the MSA calendar APP-APP for lots Lot-Lot, respectively. Thus, the cal
370 contains a listener 356 that notifies the LSA305 through endaring information for Lot-Lot is as follows:
a notifier 354 when the processing appointment LOT                 Lot: APP to, t2), CWts, ta
changes. On the other hand, the lot appointment TOOL               Lot: APPts, ts, CW to, to
contains a listener 358 that notifies the MSA310 through a 50 Lot: APPts, t, CWt, t
notifier 352 when it changes. If the MSA 310 changes the           Lot: APPts, t, CWt, to
processing appointment LOT, the LSA 305 will be notified           Note that, in the illustrated embodiment, several of the
of the appointment change and it will modify the appoint commitment windows overlap, but none of the appointments
ment TOOL accordingly. Thus, listeners enable the soft overlap. Appointments may be shifted within their commit
ware agents 265 to Synchronize the corresponding appoint 55 ment window, So long as they do not overlap other appoint
ments. Also, the Software agents 265 can Schedule reactively ments, or may be expanded, shrunk, canceled and resched
to Such predetermined events when appropriate and can then uled as is discussed more fully below. However, in some
keep their calendars updated as changes are instituted by embodiments, parts of the appointments may overlap.
other software agents 265.                                         Thus, returning to FIG. 3, appointments, e.g., the pro
   When the software agents 265 react to appointment 60 cessing appointment 375, are proactively booked on calen
changes, they carefully manipulate the corresponding dars, e.g., the calendars 385, 370, maintained by each
appointments. In Some cases, it would be inappropriate for Scheduling agent, e.g., the Scheduling agents 305,310. Note,
two Software agents 265 to manipulate their respective however, that not all appointments are processing appoint
corresponding appointments at the same time. Thus, a Single ments. Whenever the processing appointment 375 is booked,
Software agent 265 is responsible for manipulating its 65 the LSA 305 schedules move appointments for moving the
respective corresponding appointment, which will then lots 130 to the location of the newly booked processing
prompt the Software agent 265 of the corresponding appoint appointment 375. For instance, referring to FIG. 1 again,
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assume the lots 130 processing on the first process tool 115       A tentative appointment remains tentative until it is booked,
exits from a port 140 and needs to arrive at the port 145 of       whereupon it enters the unready Status. The appointment is
the Second process tool 115 for the Scheduled processing           unready until the lot 130 arrives at the process tool 115. The
appointment 375. Each LSA305 schedules the appointments            appointment is then ready until the Start time for the appoint
for the lot 130 to transit between the Source and destination      ment arrives. The appointment then becomes active (i.e., the
locations, e.g., the port 140 of the first process tool 115 and appointment commences) until the process tool 115 con
the port 145 of the second process tool 115.                       firms it has started processing. Once the appointment is
   FIG. 5 conceptually illustrates three related calendars processing, it retains that Status until it nearS completion and
maintained for three different types of entities-a lot 130, a then is complete. If the appointment is removed from the
process tool 115, and a preventive maintenance (“PM”)-on calendar before entering the processing State, it is “canceled'
which different types of appointments are booked. In the and removed from the System. Once in the processing Status,
illustration of FIG. 5, as opposed to the illustration of FIG. the appointment is “aborted” if halted. A completed appoint
4, all appointments for a given calendar are collapsed onto ment or an aborted appointment retains this status until it is
a single timeline. The commitment windows for each removed from the system.
appointment are omitted to facilitate this collapse and to 15 However, in accordance with the present invention, the
keep from unduly cluttering the illustration. More particu Software agents 265 also reactively schedule events for their
larly, FIG. 5 illustrates:                                         respective manufacturing domain entities resulting from
   a calendar for a process tool TOOL maintained by a MSA developments in the process flow 100. Typically, reactive
      for the process tool TOOL, including appointments Scheduling by the Software agents 265 effects changes to
      booked for setups (e.g., SETUP, SETUP);                      appointments that were, in the first instance, proactively
   lot processing appointments (e.g., LOT, LOT, LOT); Scheduled. However, this is not necessary to the practice of
      PMs (e.g., PM); and                                          the invention. For instance, in one particular embodiment,
   Quals (e.g., QUAL),                                             the Software agents 265 Schedule activities in reaction to a
   a calendar for a lot LOT maintained by a LSA for the lot machine failure which causes the machine to Stop processing
      LOT on which are booked appointments for moves 25 and requires a period of downtime in order to repair the
      (e.g., MOVE, MOVE, MOVE, MOVE MOVE) machine. There usually would not be any proactively Sched
      and lot processing appointments (e.g., TOOL, uled appointment for Such an event Since a machine failure
      TOOL); and                                                   usually cannot be predicted in advance.
   a calendar for a PM maintained by a PMSA on which are              More particularly, the Software agents 265 usually react to
      booked appointments for PMs (e.g., PM), and Quals different events that occur within the process flow 100.
      (e.g., QUAL).                                                These events are identified beforehand, i.e., are "predeter
Still other types of appointments may be booked. For events        mined, so that appropriate activities in reaction to those
instance, if the process tool TOOL goes down, i.e., is no on a number       can be defined. The appropriate actions will depend
longer available for processing, a "downtime appointment' 35 manufacturing of            factors including not only the type of
                                                                                     domain     involved, but also the type of event
may be booked on its calendar to represent the expected that is involved. The predetermined
repair time. Note that each of these appointments in the in the illustrated embodiment, as one events         of three
                                                                                                                       are categorized,
                                                                                                                        types: appoint
calendar of FIG. 5 is for an event that, in the first instance,    ment   State change,   a factory  State change,  or  an alarm event.
the Software agents 265 proactively Schedule according to             Appointment State changes usually occur when a Software
the manufacturing domain entity they represent.
   An appointment, e.g., the processing appointment 375 in 40 agent        265, e.g., the Scheduling agents 305, 310 change an
                                                                   appointment,    e.g., the processing appointment 375. A Soft
FIG. 3, exists in one of several “states', or have a certain
“status, at any given time. In the illustrated embodiment, expand or shrinkmay
                                                                   ware   agent  265
                                                                                        the
                                                                                             change the Status of the appointment,
                                                                                             appointment, cancel the appointment,
the Status may be:                                                 shift the  appointment,    or perform other manipulations to the
   tentative-the appointment has been created, but not 45 calendar or appointments                on the calendar. When an appoint
      booked (which is discussed further below);
   unready-the tentative appointment has been booked, but change. For example, the MSA310agents
                                                                   ment    is changed,   the   appropriate
                                                                                                              may
                                                                                                                      265 react to the
                                                                                                                    expand   the sched
      is not ready for execution;                                  uled  duration  of the  appointment    375 on  its calendar 370 due
   ready-the lot 130 involved in the appointment has to the appointment 375 running late. The LSA 305 reacts                         to
      arrived at the process tool 115 for which it is booked; 50 that change by expanding the corresponding appointment
   active-the Start time for the appointment has arrived and 375 on its calendar 385 to keep the appointments 375
      all participants are ready;                                  synchronized across the two calendars 370, 385. Appoint
   active PM/Qual-the start time for a following Qual ment State changes may include, for instance, appointment
      portion of a PM appointment has arrived;                     cancellations, appointment expansions, appointment Shrink
   processing-the Scheduled activity has started, i.e., the 55 age, appointment aborts, appointments changing Status,
      Start command has been confirmed by the process tool appointments shifting, and commitment window updates.
      115, or the PM or Qual has started;                             Factory State changes usually occur when the State of the
   processing PM/Qual-the follow-up Qual portion of a factory, e.g., the process flow 100, changes. Factory State
      PM has started;                                              change events may originate from the MES 270 (shown in
   near complete-the appointment is nearing completion as 60 FIG. 2), the AMHS280 (also shown in FIG. 2), or from the
      defined by predetermined parameters (e.g., processing Equipment Interface (“EI”, not shown) for the process tools
      time remaining, wafer count);                                115. Factory State changes may include lot due date changes,
   complete-processing is completed;                               a lot being put on hold, changing the process or process
   canceled-booked appointment is removed from a calen operation of a lot, a lot's location changing, a carrier arriving
      dar before it enters the processing Status, and           65 at a machine port, etc. For every factory State change that is
   aborted-appointment was stopped during processing in a a “predetermined event,” the Software agents 265 react
      processing Status.                                           accordingly. Exemplary factory State changes might include
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a downtime occurrence, a machine becoming available, a            shifted left, or earlier in time, So that its processing can begin
PM/Qual being detected; a chamber going down; a lot               immediately. If the next booked appointment cannot be
departing a machine; a move completed; and a wafer com shifted to start at the current time, the MSA310 will search
pleted.                                                          for any other booked appointments that may have commit
   Alarm events occur, in this particular embodiment, when ment windows starting at the current time or earlier. If one
a specific alarm has expired. Agents react when an alarm of these booked appointments can be moved to Start imme
event is received-for example, when the appointment end diately without causing cancellation of any other booked
time has arrived for a lot appointment. If the machine agent appointments, the booked appointment will be moved in a
does not receive notification that the appointment has ended, “jump over fashion and other booked appointments will be
the machine agent will expand the appointment based on a shifted as required. This scenario is shown in FIG. 6B,
configurable percentage of the appointment's total duration. wherein the current time t at which the provider is idle is
Once the appointment is expanded, the machine agent will outside the commitment window CW for the next booked
Set a new alarm for the new, predicted end time of the appointment APP, but falls within the commitment window
appointment. An alarm event might be, for instance, an CW of the third booked appointment APP. Hence, the third
alarm firing for an appointment Start time or an alarm firing 15 appointment APP performs a “jump over operation, jump
for an appointment end time.                                     ing over appointments APP and APP and appointment
   Note that Some events are unplanned, or unexpected. For APP, is shifted right to a later start time immediately fol
instance, there is no reliable way to actually know when a lowing appointment APP.
machine or chamber goes down unless it is going down for            In either situation, the LSAS 305 for the affected lots 130
a scheduled PM or a Qual period. Some of these events are are notified by that their appointments have been changed.
expected. For instance, the time at which a lot 130 arrives at The difference in Start times and end times may also change
the port 145 of the process tool 115 should be known if it the appropriateness of Scheduled moves. For instance, if a
arrives on time Since the move was Scheduled. Some               booked appointment is shifted left, the earlier Start time
embodiments may therefore choose not to Schedule reac means the lot 130 must arrive earlier than may be provided
tively to Such an event, instead preferring to Schedule 25 for by the currently scheduled moves. Conversely, a later
proactively on the assumption the Schedule will be met and start time means the lot 130 should move later. In either
scheduling reactively only if the schedule is not met. Note circumstance, modified moves may be appropriate to
that other embodiments may Schedule reactively to events achieve the correct arrival time for the lot 130.
not listed either in addition to or in lieu of those set forth      Consider also the circumstance where the Software agents
herein.                                                          265 reactively schedule because the duration of a current
   The reactive Scheduling performed upon the occurrence appointment, or an appointment immediately preceding it, is
of any particular event will depend on the nature of the event longer than expected. When the LSA 305 and MSA 310
and, to Some degree, upon the particular implementation. book appointments, they set an "end-time alarm' (not
Generally Speaking, the reactive Scheduling typically shown) that notifies them when the appointment is sched
includes changing appointments, e.g., the appointment 375 35 uled to be completed. When the task is completed, the
in FIG. 3, previously scheduled and booked. Booked pro scheduling agents 305,310 are notified and these alarms are
cessing appointments and PM/Qual appointments may be canceled. Thus, if the alarm fires, then the Scheduling agents
shifted, expanded, aborted, shrunk, canceled, and re-Sched 305, 310 know the appointment did not complete at the
uled. Move and Setup appointments are modified as needed Scheduled time, and that the appointment needs to be
at the time lot processing appointments are modified. In the 40 expanded.
illustrated embodiment, these appointment modifications are         FIG. 7A and FIG. 7B illustrate two Such situations. The
performed by the LSA 305 or the MSA310.                          timelines for the appointments in each have been collapsed
   For example, booked processing appointments may be and the commitment windows are omitted as was the case
shifted, which may cause booked move appointments to be for the calendars in FIG. 5. In FIG. 7A, the move MOVE
canceled, aborted, or rescheduled. Appointments are viewed 45 had a longer duration than was expected, and So the moves
as “beads on a String. Existing appointments are permitted MOVE MOVEs and the appointment APP were shifted
to slide backward or forward in time (i.e., “right” or “left” later in time to accommodate this longer duration. In FIG.
in FIG. 4 and FIG. 5) within their respective commitment 7B, the appointment APP took longer than was expected,
windows as desired to accommodate changes in Scheduling.         and so the appointments APP and APPs were shifted later
In the illustrated embodiment, to Simplify the logic, appoint 50 in time. Note that in both FIG. 7A and FIG. 7B, the
ments are not permitted to shift past the next appointment in illustrated changes necessarily imply that, in ooth circum
either direction.                                                stances, the commitment windows for the changed appoint
   Consider the circumstance where a lot processing ments were wide enough to accommodate the changes.
appointment for a lot 130 completes earlier than expected.       Otherwise, Some appointments would have to be canceled.
This provides an opportunity for the MSA310 to reactively 55 AS can be seen from these two examples, the reactive
Schedule what is known as an “early start.” Because the Scheduling will vary according to the circumstance. In
MSA310 in FIG.3 is idle, the MSA310 will attempt to shift general, in the illustrated embodiment, the following Sched
the next appointment to an earlier Start time and Start it uling activities may occur responsive to a predetermined
immediately. When the lot 130 completes the processing eVent:
appointment early, the MSA 310 reacts by shifting Subse 60 aborting a Scheduled appointment in progreSS,
quent Scheduled appointments earlier in time to take advan          canceling a Scheduled appointment before it begins,
tage of the early start opportunity. The LSA 305 will react         Scheduling a new appointment;
differently to the event of the lot processing completing           Starting a Scheduled appointment;
early.                                                              expanding the duration of a Scheduled appointment;
   This instance is shown in FIG. 6A, wherein the current 65 Shrinking the duration of a Scheduled appointment;
time t falls within the commitment window CW for the                shifting a Scheduled appointment to an earlier or later
next appointment APP. The next appointment APP is then                 time;
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  changing a commitment window;                                     operations are also performed in batches. After all the batch
  changing an appointment attribute (e.g., transport start          participants are loaded, the process tool 115 performs a
    time, remaining transport time, etc.);                          batch charge operation to move the batch participants from
   Setting an alarm;                                        the internal Stocker into, e.g., a furnace tube (not shown)
   canceling an alarm; and                                  before the processing can actually begin. After the proceSS
   changing the Status of an appointment.                   tool 115 completes the batch proceSS operation, it discharges
The “predetermined events' provoking Such reactive Sched the batch participants, e.g., from the furnace tube back into
uling may include, for an appointment State change:         the internal stocker. Finally when the lots 130 are ready to
   canceling an appointment;                                be moved to the tool I/O ports, a Sequence of batch unload
   expanding an appointment;                                operations is performed.
   shrinking an appointment;                                   Table 2 also refers to appointments that are “locked.” To
   aborting an appointment;                                 help prevent undesirable appointment shifting, the illus
   an appointment changing Status,                          trated embodiment employs an appointment locking mecha
   shifting an appointment;                              15 nism. Generally Speaking, when a lot 130 Starts its final
   an unexpected carrier arrival,                           move from a Source location to a process tool 115, it is
   a transport time update;                                 undesirable to have a new appointment jumping in front of
   a load time update,                                      it by canceling or shifting that appointment to the right, or
   an unload time update,                                   later in time. To prevent this from occurring, the MSA
   a lot joining a batch;                                   “locks” the lot processing appointment when the lot 130
   a lot leaving a batch;                                   Starts its final move. Note that locked appointments never
   canceling a lot from a batch; and                        theless Sometimes do need to be shifted. For instance,
   updating a commitment window.                            assume two appointments are booked on the calendar for a
For a factory State change, the predetermined event might while the process
                                                            particular           tool 115, and the first one is processing
                                                                        lot 130 for the second one has started the final
be, for example:                                         25
   detection of downtime,                                   move to the process tool 115. The second appointment is
   a machine becoming available;                            locked because it is in its “final” move to the process tool
   a PM/Qual being detected;                                115. If the first appointment runs long and must be
   a chamber going down or coming up;                       expanded, the Second one must first be shifted to permit the
   a change in machine capabilities,                        first one to expand. Thus, the locked Second appointment
   a change in machine types;                               must be shifted even though this is generally undesirable. In
   addition of a process;                                   general, however, appointments may be "locked” in certain
   addition of a proceSS operation;                         circumstances to prevent them from being shifted or can
   a lot proceSS changed;                                   celed.
   a lot placed on hold;                                 35
                                                                                       TABLE 2
  a lot relesed from hold;
   a lot priority changed;                                                        Reactive Scheduling Activities for MSAs
   a lot due date changed;
   a lot wafer count changed;                                       Event       Event Type    Reactive Scheduling Activities
   a lot process operation changed, and                          40
                                                                    Downtime    Factory State A downtime event may indicate the machine
   a lot departing from or arriving at a machine.                   Detected    Change        is currently not available for processing or
                                                                                (MES)         that an error has occurred during processing.
And, for an alarm event, the predetermined event might be:                                    If the MSA detects that the machine is not
   an alarm firing for an appointment start time, and                                         currently available for processing, the MSA
   an alarm firing for an appointment end time.                  45
                                                                                              will abort and shrink any lot processing
                                                                                              appointment that is processing. It will then
Note that these lists are not exhaustive, but illustrative only.                              book a downtime appointment after the
The identity of predetermined events will be implementa                                       aborted lot processing appointment or after
tion-specific, and So may vary among embodiments. Typi                                        the unload appointment. If the downtime
                                                                                              event occurred due to an error during
cally, depending on the event provoking the reactive Sched                                    processing, the MSA will book a downtime
uling, these activities will be employed in combination, or in 50                             appointment after the lot processing
the alternative, conditionally. Tables 2-5 list the predeter                                  appointment that is processing or the unload
                                                                                              appointment. Booked processing
mined events, their type, and their reactive Scheduling                                       appointments overlapping the downtime
activities for machine, lot, PM, and resource Scheduling                                      appointment are shifted later in time, if
agents, respectively, for one particular implementation of the                                possible, or are otherwise cancelled.
present invention.                                               55 Machine     Factory State Any active PM, QUAL, or downtime
                                                                    Available   Change        appointments are completed. The next
  Tables 2, Table 3, and Table 5 refer one or more of               Detected    (MES)         appointment on the machine's calendar is
load/unload operations and appointments and charge/dis                                        then shifted and started, if possible.
charge operations and appointments. AS will be appreciated PM/Oual              Factory State A PM/Qual appointment is booked after any
by those skilled in the art having the benefit of this disclo Detected          Change
                                                                                (MES)
                                                                                              active appointments. Any booked
                                                                                              appointments overlapping the PM/Qual
Sure, Some process tools 115 perform lot batch proceSS 60                                     appointment are shifted after the PM/Oual
operations in which multiple lots 130 are simultaneously                                      appointment. If any overlapping booked
processed in a batch. Some of these process tools 115 use                                     appointment cannot shift, it is cancelled.
load, charge, discharge and unload Steps. For instance, a Down    Chamber       Factory State All unready appointments for the machine or
                                                                                Change        chamber that has not started are canceled.
process tool 115 may first load all the batch participants, i.e., Detected      (MES)
lots 130, from the tool I/O ports (not shown) to the tool 65 Chamber Up Factory State The duration for any appointment is
internal Stocker (also not shown). Usually this type of Detected Change               shrunken to the expected completion time
process tool 115 has multiple I/O ports, and the load/unload
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                       TABLE 2-continued                                                                   TABLE 2-continued
                Reactive Scheduling Activities for MSAs                                             Reactive Scheduling Activities for MSAs
Event         Event Type Reactive Scheduling Activities                             Event         Event Type    Reactive Scheduling Activities
              (MES)        based on the new throughput rate and shifted             Shift       Appointment The appointment is shifted right. If it cannot
                           to the right, or later in time, if possible.             Appointment State Change be shifted right, it is canceled, unless it is
Lot Not At a Alarm State   If the lot has “reserved a port with the                 Right                    locked. If it is locked, any appointment
Port At a    Change        machine, the MSA will wait until the LSA                                          blocking the right shift are cancelled
Scheduled                   expands the move appointment. The               1O
Start Time                  expansion of the move appointment will
                            cause the LSA to shift the lot appointment to         Table 3 refers to “feeder operations.” In a partially auto
                             he right. The MSA will then react                 mated fab, only a portion of the proceSS operations may be
                            appropriately to the shifting of the lot
                            appointment. If the lot has not reserved the       scheduled and controlled by the software agents 265. Thus,
                            port, the appointment is cancelled.             15 only a subset of the process tools 115 in the fab are under the
Lot Arrived   Factory State If the lot arrived at the right location, the
at Machine    Change (EI) MSA will make the appointment active if it           control of the software agents 265 and the fab is not fully
Port                        is not a participant of a batch appointment. If    under the control of this System. Those proceSS operations
                             he appointment is a participant of a batch        controlled by the Software agents 265 are called “control
                            appointment, the MSA will make the                 process operations.” Immediately before each control pro
                            appointment ready. If the machine is idle and
                             he appointment is active, the MSA will start      ceSS operation, a Sequence of “feeder” operations can be
                            processing the appointment. (Note: a               derived from a configurable percentage of the process time
                            participant of a batch appointment is made         of the controlled proceSS operation. Feeder appointments are
                            active when all of the participants have           used  in determining the earliest start time for an appointment
                            arrived at the machine.) If the lot arrived at
                             he right machine but the wrong port, the          being Scheduled ahead. More particularly, feeder appoint
                           MSA will check to see if a different lot            25
                                                                             ments are used when a LSA is Scheduling ahead and the time
                           reserved the port. If a different lot reserved    has not yet arrived for Scheduling the feeder operation with
                            he port, the MSA will assign that lot the        an actual process tool 115. Feeder appointments are used to
                           next available port. If the appointment for
                            he arriving lot is active, the MSA will start    represent processing activities for those feeder operations
                           processing the appointment. If the lot arrived    with the duration equal to the cycle time of the respective
                           at the wrong machine, the MSA will check          feeder operations.
                            o see if a different lot reserved the port. If a
                           different lot reserved the port, the MSA will        Table 3 also refers to “maxMove” appointments. For a
                           assign that lot the next available port. The      feeder operation, the specific process tool 115 that will
                           machine will then book an appointment for         perform the final feeder operation is not known until the lot
                            he lot just arrived. Any overlapping             130 begins processing at the final feeder operation. A
                           appointments will be shifted to a later time.  35
                           If an Overlapping appointment cannot shift        "maximum move” appointment represents transport activi
                           ater in time, it will be cancelled.
Lot Process Alarm State If a lot processing appointment is running
                                                                             ties from the last feeder process tool 115 to a controlled
ing Appoint Change         ate, it is expanded and any overlapping           process tool 115. In one embodiment, the duration of the
ment Run                  booked appointments are shifted to the right,      maximum move appointment is derived by the worst case
ning Late                 or later in time. If any overlapping booked 40 transport time between the last feeder process tool Station
                          appointment cannot shift right and the             105 and the controlled process tool station 105. When the
                          appointment is not locked, it is cancelled. If     last feeder appointment is activated, the actual process tool
                           he appointment is locked and cannot shift         115  performing the last feeder operation is known, and thus
                          right, the appointment's commitment
                          window will be expanded to allow the shift         the maximum move appointment will be replaced by a move
                           O OCC.
                                                                          45
                                                                             appointment or a sequence of move appointments.
Lot Process Factory State If a lot processing appointment completes
ing Complet Change (EI) earlier than expected, the appointment is               Table 3 furthermore refers to a “bid request.” In the
ing Early                 shrunk and completed and, if possible, the         illustrated embodiment, the process flow 100 employs a
                          next appointment is shifted earlier in time. If    protocol for Scheduling appointments that begins with a “bid
                          the next appointment can shift to the current      request.” The LSA305 publishes a “request bid” message to
                          time, it will start that appointment.
Lot Process Factory State The MSA calculates the remaining                50 a capable MSA310. The MSA310 submits one or more bids
ing Near    Change (EI) processing time for the lot. If it is going to       to the LSA 305. The LSA 305 selects one from among
Complete                  finish early, the appointment is shrunken to       Several Such bids, which typically results in one or more
Detected                  the new end time and any following                 “appointments' associated with performing the operation
                          appointments are shifted left, or earlier in
                          time. If it is going to finish late, the           the LSA305 is seeking for its lot 130 of wafers 135. Note,
                          appointment is expanded to the new end time 55 however, that other protocols may be employed in which
                          and any overlapping appointment are shifted        there is no “bid request.” Thus, the bid request is an
                          to a later time or cancelled.                      implementation specific feature that may not be found in all
Lot         Appointment If processing or near complete, the                         embodiments.
Appointment State Change appointment is aborted or, if unready, simply
Cancelled                canceled. Upon cancellation of an                                                          TABLE 3
                         al ppointment, the next appointment is shifted        60
                         e arlier in time, if possible, to reduce any
                         gaps between appointments.                                                 Reactive Scheduling Activities for LSAS
Lot Depart Factory State If the lot was still processing at the time of             Event              Event Type    Reactive Scheduling Activities
ing Machine Change (EI) its departure, the appointment is aborted and
Port                       the end time shifted earlier in time. The next           Appointment End Alarm Event The alarm indicates that the scheduled
                           appointment is shifted earlier as much as           65   Time Alarm Fired                 end time of the move appointment has
                           possible.                                                For Move                         arrived. The LSA determines if the
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                                  19                                                                                 20
                        TABLE 3-continued                                                                  TABLE 3-continued
                 Reactive Scheduling Activities for LSAs                                            Reactive Scheduling Activities for LSAs
Event              Event Type     Reactive Scheduling Activities                   Event             Event Type     Reactive Scheduling Activities
Appointment                      move appointment should be expanded.            Shift Unload     Appointment The LSA will try to move the unload
                                 If the move originates from a machine           Appointment Left State Change appointment to the left. If it is unable to
                                 port, move appointment expansion is                                           shift left, the system will cancel all non
                                 always permitted to clear the port.                                           active move appointments, cancels
                                 Otherwise, the move appointment is           1O                               unload/load appointments, and cancels
                                 expanded a percentage (i.e., 25%) of                                          the lot appointment.
                                  he originally scheduled duration until a         Shift Lot         Appointment The LSA will check to see if the first
                                 maximum expansion percentage has                  Appointment       State Change appointment is a move appointment. If
                                 been reached (i.e., 175%). When the               Right                          it is a move appointment and it is not
                                 maximum expansion percentage has                                                 active or on a machine or machine port,
                                 been reached, the appointment is             15                                  it will shift that move appointment to
                                 aborted. If the move appointment                                                   make it arrive at the start of the lot
                                 is expanded, subsequent booked                                                     appointment or load appointment (if the
                                 appointments are shifted later in                                                  move appointment is active, it will
                                  ime. A new end time alarm is                                                      expand the end to the start of the lot
                                  hen set for the expanded move                                                     appointment or load appointment). It
                               appointment.                                                                         will then shift any preceding
Appointment End    Alarm Event The alarm indicates that the scheduled                                               appointments to the right. If the system
Time Alarm Fired                 end time of the feeder appointment has                                             is unable to shift the appointments right,
For Feeder                       arrived. The LSA will expand the                                                   it will cancel all non-active move
Appointment                      appointment by a configurable                                                      appointments, any load/unload
                                 percentage. Any subsequent feeder                                                  appointment, and the lot appointment.
                                 appointments (if any) will be shrunk by           Shift Load        Appointment The LSA will check to see if the
                                 the amount that this feeder appointment      25   Appointment       State Change previous appointment is a move
                                 expanded (can't shrink a feeder duration          Right                            appointment. If it is a move
                                 to be less than the process time for the                                           appointment and it is not active or on a
                                 operation). As a last resort,                                                      machine or machine port, it will shift
                               appointments after the final feeder                                                  that move appointment to make it arrive
                                ppointment will be shifted to a later                                               at the start of the load appointment (if
                               time.                                                                                the move appointment is active, it will
Appointment        Alarm Event This alarm indicates that the scheduled                                              expand the end to the start of the load
Start Time                       start time of the specified move                                                   appointment). It will then shift any
Arrived For                      appointment has occurred. The LSA                                                  preceding appointments to the right. If
Move                               ill make the appointment active if it is                                         the system is unable to shift the
Appointment                      not active and the AMHS move will be                                               appointments right, it will cancel all
                                 initiated. If the appointment is the         35                                    non-active move appointments, any
                                 final move before a lot appointment,                                               load/unload appointments, and the lot
                                 the LSA will ask a MSA to reserve a                                                appointment.
                                 port and lock the appointment. It will            Shift Unload      Appointment The LSA will shift appointments to the
                                 also appropriately update the total               Appointment       State Change ight. If the system is unable to shift the
                                 transport time and remaining transport            Right                            pointments right, it will cancel the lot
                                 time. The LSA will then create an
                                                                              40                                      pointment, which will cancel all
                                 appointment end time alarm.                                                        move, load, and unload appointments
Appointment        Alarm Event This alarm indicates that the scheduled                                              association with the lot appointment.
Start Time                       start time of the specified feeder                Shrink Lot        Appointment The LSA will shrink the lot
Arrived For                      appointment has occurred. The LSA                 Appointment       State Change appointment to the specified time and
Feeder                           will make the appointment active if it is                                        shift subsequent move appointments
Appointment:                     not active. The LSA will then create an                                            earlier in time.
                              appointment end time alarm.                     45 Shrink Load         Appointment The LSA will shrink the
Lot Appointment Appointment The LSA cancels the lot appointment                    Appointment       State Change appointment to the specified time.
Completed                     and any non-also cancel the end time                 Shrink. Unload    Appointment The LSA will shrink the unload
                              alarm, appropriately updates the                     Appointment       State Change appointment to the specified time.
                               ransport start time, and initiates the              Unscheduled       Factory State If the current location of the lot is a
                              next appointment.                                  Move Completed Change              machine port, then the system will
Make Lot         Appointment The MSA initiates this change when it            50                (AMHS)              cancel all appointments except the lot
Appointment      State Change receives an equipment event stating that                                              appointment. The lot appointment will
Near Complete                  he lot processing is near complete. The                                              only be cancelled if the appointment
                              LSA will change the status of the                                                     was for a different machine. If the
                              appointment to near complete. It will                                                 appointment was for a different
                               hen schedule the post control move                                                   machine, the LSA will cancel all
                              appointment and invokes scheduling for          55                                    appointments and wait for the MSA to
                               he next process operation if                                                         invoke override scheduling. Otherwise,
                              appropriate.                                                                          the system will determine how long it
Shift Lot        Appointment The LSA will try to move the lot                                                       will take for the lot to get back to the
Appointment Left State Change appointment to the left, or earlier in                                                next processing appointment
                                  ime. If it is unable to shift left, the                                           destination. If the lot can still make its
                              system will cancel all non-active move,         60                                    processing start time, then the system
                               oad, and unload appointments and then                                                will reschedule the appropriate move
                              cancels the lot appointment.                                                          appointments. If the lot is unable to
Shift Load       Appointment The LSA will try to move the load                                                      make the start time, it will cancel all
Appointment Left State Change appointment to the left. If it is unable to                                           move, load, unload, and lot
                              shift left, the system will cancel all non                                          appointments and will initiate
                              active move appointments, cancels                                                   scheduling.
                              unload/load appointments, cancels the           65   Update            Appointment The LSA will update the lot
                              lot appointment.                                     Commitment        State Change appointment commitment window
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                        TABLE 3-continued                                                               TABLE 3-continued
                 Reactive Scheduling Activities for LSAs                                         Reactive Scheduling Activities for LSAs
Event             Event Type Reactive Scheduling Activities                  5    Event            Event Type Reactive Scheduling Activities
Window For Lot                 appropriately. The commitment window                                             schedule a move to the nearest stocker
Appointment                    represents the lots earliest start time                                          as soon as the lot arrives at the machine
                               and latest delivery ime for a given                                              port. If unload appointment is
                               appointment. The commitment window                                               processing, cancel all appointments
                               is updated if an ap pointment is              1O                                 after and schedule post move. If feeder
                               processing late and the new end time                                                pointment is processing, shrinks and
                               exceeds the latest delivery time of the                                             orts the appointment and then cancels
                               appointment.                                                                          appointments after feeder
Update Load       Appointment The LSA will update the load start time                                             ppointment. If load appointment is
Time For Load     State Change and remaining load time appropriately                                               ocessing, it cancels all appointments
Appointment                    on the load appoin ment.                      15                                     er except for the unload appointment.
Wrong Move        Appointment If the current location of the lot is a                                              will then schedule a post move
Completed         State Change machine port, then the system will                                                 ppointment. If the lot has a processing
                               cancel all appointments except for the                                             ppointment active, and it is in a status
                               lot appointment. The lot appointment                                                 processing or near complete, it is
                               will only be cancelled if the                                                       owed to complete. If the next
                               appointment was for a different                                                    ppointment is an unload appointment,
                               machine. If the appointment was for a                                                 subsequent appointments are
                               different machine, the LSA will cancel                                                 ancelled and a move is scheduled after
                               all appointments and wait for the MSA                                            the unload. If the next appointment is a
                               to invoke override scheduling.                                                   move appointment, it and subsequent
                               Otherwise, the system will determine                                             appointments are cancelled and another
                               how long it will take for the lot to get      25
                                                                                                                move is scheduled. If there are no
                               back to the next processing appointment                                          subsequent appointments, a move is
                                destination. If the lot can still make its                                      scheduled after the processing
                                original processing start time, then the                                        appointment. If the lot appointment is
                                system will reschedule the appropriate                                          active but not processing or complete, it
                                move appointments. If the lot is unable                                         is shrunk and aborted. If the next
                                to make the start time, it will cancel all                                      appointment is an unload appointment,
                                move, load, unload, and lot                                                     subsequent appointments are cancelled
                                appointments and will initiate                                                  and a move appointment is scheduled. If
                                scheduling.                                                                     the next appointment is a move
Lot Due Date      Factory State If the lot has a processing appointment                                         appointment, it is cancelled and another
Change            Change        active, cancel appointments after either                                        move appointment is scheduled. If there
                  (MES)         current appointment or following unload                                          al   re no next appointments, a move
                                appointment (if present). If the          35                                          ppointment is scheduled. If the lot is in
                                appointment is in "near complete'                                                      feeder appointment, it is shrunk and
                                status and the next process operation is                                              borted and all subsequent appointments
                                 ot a control operation or there is no                                                ancelled. If the lot is in a load
                                 ext operation in the process, schedule a                                        ppointment and it is in a processing
                                move appointment after the current lot                                            atus, the subsequent lot processing
                                processing appointment. Otherwise,        40                                     ppointment is cancelled. The following
                                attempt to schedule the next process                                                oad appointment is left and all
                                operation. If the lot has a move                                                 ubsequent appointments cancelled. A
                                appointment active and the move is to a                                         move appointment is scheduled after
                                machine port destination, cancel                                                the unload appointment (both will later
                                appointments after the following load                                           shift earlier in reaction to
                                appointment (if present) and following                                          appointment changes initiated by the
                                lot processing appointment. Otherwise,       45                                 RSA). If the load appointment is not
                                cancel all appointments after the move                                           rocessing, it and subsequent
                                appointment and reschedule the current                                                ppointments are cancelled and a move
                                process operation. If the lot has a feeder                                            ppointment is scheduled. If the lot is in
                                appointment active, cancel all                                                        in unload appointment, all subsequent
                                appointments after the feeder                                                          pointments are cancelled and a move
                                appointment and reschedule the next          50                                        pointment is scheduled after the
                                process operation. If the lot has a load                                         nload appointment. If the lot is in a
                                appointment active, cancel                                                      move appointment and the move has
                                appointments after the following lot                                            started, all subsequent appointments
                                appointment or load appointment (if                                             are cancelled. If the move is to a
                                present.) If the lot has an unload                                            machine port, a move is scheduled to
                                 a)    pointment active, cancel              55                               subsequently transport the lot off the
                                 a) pointments after the current time. If                                     machine port. If the lot is on a move
                                t he next operation is not a control                                          appointment that has not started, the
                                 O     eration or there are no more                                           move appointment is aborted and all
                                 O     erations, schedule a move                                              subsequent appointments cancelled.
                                 a.    pointment after the unload               Process Changed Factory State If the lot has a processing appointment
                                 a.    pointment. Reschedule for the next
                                                                             60
                                                                                                Change        active, cancel appointments after either
                                process operation. If no appointments                           (MES)         current appointment or following unload
                                 al   re active, cancel all future                                            appointment (if present). If the
                                appointments and reschedule current                                           appointment is in "near complete'
                              process operation.                                                              status and the next process operation is
Lot put on Hold Factory State I ot is processing, cancel appointment                                          not a control operation or there is no
                Change        al ter post move appointment. If lot is                                         next operation in the process, schedule a
                (MES)         moving to control machine port, cancel         65                               move appointment after the current lot
                              all appointments after the move and                                             processing appointment. If the
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                                     23                                                                                 24
                       TABLE 3-continued                                                                      TABLE 3-continued
                Reactive Scheduling Activities for LSAs                                                Reactive Scheduling Activities for LSAs
                                                                                 5
Event             Event Type Reactive Scheduling Activities                           Event             Event Type Reactive Scheduling Activities
                              ppointment is near complete and the                                                     the next operation is not a control
                              ext operation is a control operation,                                                   operation or there are no more
                               tempt to schedule the next process                                                     operations, schedule a move
                                     peration. If the lot has a move                                                  appointment after the unload
                                     ppointment active and the move is to a      1O                                   appointment. Reschedule for the next
                               machine port destination, cancel                                                       process operation. If no appointments
                                ppointments after the following load                                                  are active, cancel all future
                                nd unload appointments (if present)                                                   appointments and reschedule current
                                nd following lot processing                                                           process operation.
                                      pointment. Otherwise, cancel all              Wafer Count         Factory State If the wafer count for a lot decreases,
                                      pointments after the move                  15 Decreased           Change        the MSA shrinks lot appointments on its
                                      pointment and reschedule the current                              (MES)         calendar that have not yet started. The
                                     rocess operation. If the lot has a feeder                                        MSA will try to shrink the appointment
                                      pointment active, cancel al                                                     by the proper amount. The MSA
                                 pointments after the feeder                                                          cancels any unstarted lot appoitment
                               appointment and reschedule the next                                                    that cannot be shrunk. The LSA
                               process operation as well as any                                                       subsequently reacts to the appointment
                               preceding feeder appointments. If the                                                  changes made by the MSA, depending
                               lot has a load appointment active,                                                     on the what the changes are.
                               cancel appointments after the following                Wafer Count       Factory State If the wafer count for a lot increases,
                               unload appointment. If the lot has an                  Increased         Change        the MSA expands lot appointments on
                               unload appointment active, cancel                                        (MES)         its calendar that have not yet started.
                                      pointments after the current time. If                                           The MSA will try to expand the
                                 Eeeration
                                     next operation is not a control             25                                   appointment by the proper amount. The
                                           or there are no more                                                       MSA cancels any unstarted lot
                                      erations, schedule a move                                                       appoitment that cannot be expanded.
                                      pointment after the unload                                                      The LSA subsequently reacts to the
                                      pointment. Reschedule for the next                                              appointment changes made by the
                                     rocess operation. If no appointments                                             MSA, depending on the what the
                                 re active, cancel all future
                                al                                                                                    changes are.
                                     ppointments and reschedule current               Lot Terminated    Factory State The system will cancel all appointments
                                  rocess operation.                                                     Change         or the lot.
Process Operation Factory State The LSA will remove all non-active                                      (MES)
Changed           Change        appointments.   The LSA will then check      Lot Moved In               Factory State If the lot moves in to a feeder operation
                  (MES)         to see if the new process operation is a                                Change         hat is not the first feeder operation of
                                control or feeder process operation. If 35                              (MES)          he segment, the LSA will adjust the
                                the process operation is a feeder, then                                               appointment's end time to equal the
                                the agent will schedule the next process                                              current time plus the process time for
                                operation. If the process operation is a                                               hat operation. It will then set an end
                                control and the agent doesn't have an                                                  ime alarm. If the feeder operation is
                                appointment for this process operation,                                                he last feeder, the LSA will replace the
                                it will schedule this process operation. 40                                           max move appointment with an
                                I he lot has a processing appointment                                                 appropriate move appointment and
                                alctive, cancel appointments after either                                             updates the remaining transport time.
                                current appointment or following unload      Lot Moved Out              Factory State If the operation that the lot changed
                                appointment (if present). If the                                        Change         rom is a feeder operation, the LSA will
                                appointment is in "near complete'                                                     completely shrink the feeder
                                status and the next process operation is                                              appointment and cancel subsequent
                                not a control operation or there is no    45                                           eeder and maxMove appointments, and
                                next operation in the process, schedule a                                             schedule the next operation and any
                                move appointment after the current lot                                                preceding feeder appointments. If the
                                processing appointment. If the                                                        operation that the lot changed from is a
                                appointment is near complete and the                                                  control operation, no action is taken
                                  ext operation is a control operation,                                               (next operation would have been
                                al tempt to schedule the next process     50                                          scheduled at near completion). If the
                                O peration. If the lot has a move                                                     operation the lot changed from is a
                                a. ppointment active and the move is to a                                             normal (not control or feeder) operation,
                               machine port destination, cancel                                                       the LSA will schedule the operation to
                                ppointments after the following load                                                  which the lot changed.
                                nd unload appointments (if present)                   Experimental      Factory State An ERF includes special instructions on
                                nd following lot processing                      55   Request Form      Change        how to process a particular lot. An ERF
                                      pointment. Otherwise, cancel all                (“ERF) Status     (MES)         may be attached to or removed from a
                                      pointments after the move                       Change
                                      pointment and reschedule the current
                                                                                                                      lot, and the LSA is notified when this
                                                                                                                      happens. The LSA will notify each lot
                                     rocess operation. If the lot has a                                               processing appointment's MSA and
                                       der appointment active, cancel all                                             subsequently react to appointment state
                                     ppointments after the feeder
                                     ppointment and reschedule the next          60                                   changes (if lot no longer compatible
                                rocess operation as well as preceding                                                 with any future batch appointments in
                               feeder appointments. If the lot has a                                                  which it may be participating).
                               load appointment active, cancel                        Override Lot      Factory State A bid request and an appointment
                               appointments after the following unload                Appointment       Change        change listener are created and returned
                                a) pointment. If the lot has an unload                                                to the MSA. (This is in response to an
                                a)    pointment active, cance                    65                                   unscheduled lot being placed on a
                                a) pointments after the current time. If                                              machine port.)
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                        TABLE 3-continued                                                                TABLE 4-continued
                 Reactive Scheduling Activities for LSAs                                 Reactive Scheduling Activities for PM Scheduling Agents

Event              Event Type       Reactive Scheduling Activities
                                                                               Event           Event Type Reactive Scheduling Activities
                                                                                                             This is in response to an unscheduled PM
Machine            Appointment LSA will determine if it can improve its                                      being started.
Advertises a       State Change processing appointment for the                 MES             Factory State The PMSA will appropriately update the
Time Slot                       operation at the new time slot. If so,         Machine         Change        number of occurrences of the event within
                                then the LSA cancel the appointment            Event                         any PM or Qual that depends on this event.
                                and publishes a submit bid message in          Detected                      It will then schedule any PMs or Quals
                                attempt to reschedule the appointment                                        triggered by the event occurrence what are
                                    for the advertised time slot.                                            not currently scheduled on its calendar.
                                                                               Lot             Factory State The PMSA will reevaluate the commitment
                                                                             Processing        Change        windows for all PMs or Quals that are
                                                                          15 Completed                       scheduled based on a count of material
                                                                               on Machine                    processed. If the commitment window is
                                TABLE 4                                                                      invalid, the PMSA will either update the
                                                                                                             commitment window if the PM or Qual is
         Reactive Scheduling Activities for PM Scheduling Agents                                             scheduled within the new window, or it will
                                                                                                             cancel the existing appointment and
Event          Event Type   Reactive Scheduling Activities                                                   reschedule within the new window. It will
PM/Oual     Appointment The PM appointment is canceled and                                     also schedule any PMs or Quals based on a
Appointment State Change rescheduled.                                                          count of material processed that have
Cancelled                                                                                      reached their trigger point and have not
Expand PM/ Appointment The MSA initiates this change when the PM                               been schedule previously.
                                                                       Alarm Fired Alarm Event The PMSA will schedule any time-based PM
Qual        State Change appointment is running long. The PMSA will
Appointment              react to this change by shifting all       25                         or Qual that has reached its trigger point and
                         appointments to the right of the PM                                   was not previously scheduled.
                         processing appointment being expanded. The
                         appointments that cannot be shifted are
                            canceled and rescheduled. It will then
                            expand the PM appointment to the specified                                         TABLE 5
                            time.
Make PM/ Appointment The MSA initiates this change when the                            Reactive Scheduling Activities for Resource Scheduling Agents
Qual        State Change processing of the PM has been interrupted.
Appointment              The MSA will change the status of the                 Event                  Event Type Reactive Scheduling Activities
Aborted                  appointment to aborted. The PMSA will
                         reschedule the appointment.                           Appointment Start      Alarm Event This alarm indicates that the
Make PM/ Appointment The MSA initiates this change when the               35 Time Alarm Fired                       scheduled start time of the specified
Qual        State Change MSA learns the PM has started. The MSA                for Load (Unload)                    load (unload) appointment has
Appointment              will change appointment to a processing               Appointment                          arrived. The resource appointment
Processing                  Status.                                                                                 scheduler will make the appointment
Make PM/ Appointment The MSA initiates this change when the PM                                                      active if it is not active. It will
Qual        State Change has completed processing and may shrink the                                                also create an appointment end time
Appointment              appointment if appropriate. The PMSA will                                                  alarm if needed. The resource
Completed                notify the processing agent, change the status 40                                          appointment scheduler will inform
                         to completed, and update the last occurrence                                               the processing agent to start
                            of the PM with the current wafer count on                                               processing the appointment.
                            the machine or current time.                      Appointment Start       Alarm Event This alarm indicates that the
Make PM Appointment The MSA initiates this change when it is                  Time Alarm Fired                      scheduled start time of the specified
Appointment State Change time for the following Qual to start. The            for Discharge                         discharge appointment has arrived.
Active PM/               PMSA will change the status of the                45 Appointment                           The resource appointment scheduler
Qual                     appointment to “active'.                                                                   will make the appointment active if it
Make PM Appointment The MSA initiates this change when it                                                           is not active. It will also create an
Appointment State Change receives a Factory State Change indicating                                                 appointment end time alarm if
Processing               the Qual portion of the PM appointment has                                                 needed. The resource appointment
PM/Oual                  started. The PMSA will change the status of                                                scheduler will inform the processing
                         the appointment to processing PM/Qual.            50                                       agent to start processing the
Shift PM/ Appointment The PMSA will try to move the PM                                                              appointment.
Qual        State Change appointment to the left. If it is unable to shift    Appointment End         Alarm Event This alarm indicates that the
Appointmen               left, the system will cancel the appointment         Time Alarm Fired                      scheduled end time of the specified
Left                        and reschedule it.                                 for Load (Unload)                    load (unload) appointment has
Shift PM/   Appointment The PMSA will try to move the PM                       Appointment                          arrived. The resource appointment
Qual        State Change appointment to the right. If it is unable to     55                                        scheduler will expand the
Appointmen               shift right, the system will cancel the                                                    appointment with a percentage (e.g.,
Right                    appointment and reschedule it.                                                             25%) of the originally scheduled
Shrink PM/  Appointment  The PMSA will shrink the PM appointment                                                    duration until a maximum expansion
Qual        State Change to the specified time.                                                                     percentage has been reached (e.g.,
Appointmen                                                                                                          175%). Before expanding the
Update      Appointment The PM appointment commitment window is           60
                                                                                                                    appointment, the subsequent booked
Commitmen State Change updated. The commitment window                                                               appointments may be shifted later in
Window For               represents the PMs earliest start time and                                                 time. A new end time alarm is then
 M/Oual                  latest delivery time for a given appointment.                                              set for the expanded load (unload)
  ppointmen                                                                                                         appointment.
  verride   Appointment The PM appointment is cancelled                        Appointment End        Alarm Event This alarm indicates that the
 M/Oual     State Change within the calendar if it exist. It will              Time Alarm Fired                     scheduled end time of the specified
A ppointmen              then create a bid request and appointment        65   for Charge                           charge appointment has arrived.
                         change listener and return it to the MSA.             Appointment                          The resource appointment scheduler
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                                    27                                                                                  28
                          TABLE 5-continued                                                                   TABLE 5-continued
        Reactive Scheduling Activities for Resource Scheduling Agents                       Reactive Scheduling Activities for Resource Scheduling Agents
                                                                               5
Event                  Event Type     Reactive Scheduling Activities                Event                  Event Type    Reactive Scheduling Activities
                                     will expand the appointment with a                                                  the calendar, the RSA will rearrange
                                     percentage (i.e., 25%) of the                                                       its load appointment and their
                                     originally scheduled duration until a                                               participants.
                                     maximum expansion percentage has               Carrier Arrived        Factory State The EI notifies the RSA that a carrier
                                     been reached (i.e., 175%). Before                                     Change        has arrived. If it carries the expected
                                     expanding the appointment, the                                                      lot, the RSA will change the
                                     subsequent booked appointments may                                                  corresponding resource load lot
                                     be shifted later in time. A new end                                                 appointment state to the ready status.
                                     ime alarm is then set for the                  Load Update            Factory State Upon notification by the EI, if the
                                 expanded charge appointment.                                              Change        corresponding load appointment is
Machine Batch       Appointment The MSA initiates this change when             15                                        not the first one in the batch job, the
Appointment         State Change he start time for the corresponding                                                     RSA will first shrink the previous
Changes. Its Status              machine batch appointment has                                                           load appointment, and pull the
to Active                        arrived. The RSA will change the                                                        follow-up load appointment to earlier
                                 corresponding appointment status of                                                     start time, the appointment state of
                                  he current charge appointment to                                                       the previous load appointment will be
                                     active, and a new end time alarm is                                                   hanged to the completed status. The
                                    set for the activated charge                                                          ind time alarm for the previous load
                                    appointment.                                                                         appointment will be cancelled. The
Machine Batch          Appointment The MSA initiates this change when                                                    PMSA will change the next load
Appointment            State Change the machine batch appointment was                                                    appointments status to active.
Changes. Its State                  actually started. The charge                    Load Completed         Factory State Upon notification by the EI that a
to Processing                       appointment will still have the active                                 Change        load has completed, the RSA will
                                     Status.                                   25                                        shrink the corresponding load
Machine Batch      Appointment The MSA initiates this change when                                                        appointment, cancel the end time
Appointment        State Change the processing of the corresponding                                                      alarm and change the appointment
Changes. Its State              machine batch appointment was                                                            S ate of the last load
to Completed                    actually completed. The RSA will                                                         al ppointment to the completed status.
                                change the appointment state of the       Charge Started                   E Event       Upon notification from the EI that
                                corresponding discharge appointment                                                      charging has started, the RSA will
                                to the completed status.                                                                 change the charge appointment state
Lot Load (Unload) Appointment The LSA initiates this change when a                                                       to the processing status.
Appointment        State Change lot load appointment was shifted to a     Charge Completed                 EI Event      Upon notification from the EI that a
Shifted to Later                later time. The RSA will rearrange its                                                      harge is complete, the RSA will
Time                            corresponding load appointments, and                                                        hrink the charge appointment,
                                shift other appointments on its        35                                                 ancel the end time alarm, and
                                calendar if necessary. If the                                                              hange the charge appointment
                                appointment has a start time alarm,                                                        ate to the completed status. If
                                the alarm update will be performed.                                                       here are some follow-up
Machine Batch      Appointment The MSA initiates this change or                                                           ppointments, it will pu
Appointment        State Change responding the change from the lot                                                        nload appointments to earlier
Shifted Right to                scheduling calendar when a machine 40                                                      art time, and start the unload
Later Time                      batch appointment was shifted to later                                                     ppointment.
                                time. The RSA will shift the              Discharge Started                EI Event      Upon notification from the EI that a
                                corresponding charge and discharge                                                       discharge has started, the RSA will
                                appointment to later time. Other                                                         change the discharge appointment
                                appointments on its calendar may                                                         state to the processing status.
                                also get shifted.                         Unload Started                   E Event       Upon notification from the EI that
Machine Batch      Appointment The MSA initiates this change when 45                                                     unloading has started,
Appointment        State Change a machine batch appointment was                                                          change the first unload appointment
Shrunk                          shrunk. If the discharge appointment                                                     state to the processing status.
                                     is not activated, the RSA will shift           Unload Update          E Event       Upon notification from the EI, an
                                     the corresponding discharge                                                         unload appointment is updated. If the
                                     appointment to earlier time, otherwise                                              corresponding unload appointment is
                                     it will shrink the discharge              50                                        not the last one in the unload start
                                      ppointment. The start time alarm or                                                event, the RSA will shrink the
                                    ind time alarm for the discharge                                                     corresponding unload appointment,
                                    ppointment may need to be updated.                                                   cancel its end time alarm and change
Machine Batch
Appointment
                                      E.
                       Appointment e MSA initiates this change when                                                      its status to the completed status.
                       State Change machine batch appointment was                                                        The RSA will then pull the next
Expanded                            xpanded. If the discharge                  55                                        unload appointment to earlier time
                                      ppointment is not activated, the RSA                                               and start processing the next unload
                                       ill shift the corresponding discharge                                             appointment. If the corresponding
                                      ppointment to later time, other wise                                               unload appointment is the last one
                                     it will expand the discharge                                                        in the unload start event, the RSA
                                     al ppointment. The start time alarm or                                              will wait for unload completed event.
                                     end time alarm for the discharge          60   Unload Completed       EI Event      Upon notification from the EI that an
                                     appointment may need to be updated.                                                 unload has completed, the RSA will
Load Start             Factory State The equipment interface (“EI)                                                       shrink the unload appointment, cancel
                       Change (EI) notifies the RSA that a load has                                                      its end time alarm and change the
                                     started. The RSA reacts depending on                                                appointment state to the completed
                                     whether the lots that were loaded                                                   Status.
                                     were expected or unexpected. If all        Unexpected Unload EI Event               Upon notification from the EI that an
                                     the lot are expected, but loading order 65 Started                                  unload has unexpectedly started (i.e.,
                                     is different from the appointments on                                               the next appointment is not an unload
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                                    29                                                                      30
                                                                                It should be borne in mind, however, that all of these and
                          TABLE 5-continued                                   Similar terms are to be associated with the appropriate
                                                                              physical quantities and are merely convenient labels applied
        Reactive Scheduling Activities for Resource Scheduling Agents         to these quantifies. Unless Specifically Stated or otherwise as
Event                  Event Type    Reactive Scheduling Activities           may be apparent, throughout the present disclosure, these
                                                                              descriptions refer to the action and processes of an electronic
                                     appointment or the transfer sequence     device, that manipulates and transforms data represented as
                                     is different from the scheduled one)     physical (electronic, magnetic, or optical) quantities within
                                     the RSA will change the scheduled
                                     unload appointments, and make the      Some electronic device's Storage into other data Similarly
                                     first one active. Overlapping          represented as physical quantities within the Storage, or in
                                     appointment may get shifted to later   transmission or display devices. Exemplary of the terms
                                     time or cancelled.
Unexpected Load        E Event       Upon notification from the EI that a   denoting Such a description are, without limitation, the terms
Started                              load has unexpectedly started (i.e.,   “processing,” “computing,” “calculating,” “determining.”
                                     the next appointment is not a load     “displaying,” and the like.
                                     appointment or the transfer sequence 15 Note that the software implemented aspects of the inven
                                     is different from the scheduled one),  tion are typically encoded on Some form of program Storage
                                     if there is a lot in the list that is
                                     not one of the participant of the next medium or implemented over Some type of transmission
                                     charge appointment, the RSA passes     medium. The program Storage medium may be magnetic
                                     a lot list and batch ID to a MSA for
                                     appropriate response. If all the lots
                                                                              (e.g., a floppy disk or a hard drive) or optical (e.g., a compact
                                     are in the next charge appointment,      disk read only memory, or “CD ROM'), and may be read
                                     but the transfer sequence is different   only or random access. Similarly, the transmission medium
                                     from the schedule appointments, the      may be twisted wire pairs, coaxial cable, optical fiber, or
                                     RSA will reschedule the load             Some other Suitable transmission medium known to the art.
                                     appointments.
                                                                  The invention is not limited by these aspects of any given
                                                               25 implementation.
   Note that, as booked appointments are shifted, canceled,          This concludes the detailed description. The particular
shrunk, expanded, and rescheduled, the changes can ripple embodiments disclosed above are illustrative only, as the
through the process flow and, in particular, the calendars. invention may be modified and practiced in different but
Changes are instituted by a Single Software agent, but a equivalent
                                                                  having  the
                                                                               manners apparent to those skilled in the art
                                                                              benefit of the teachings herein. Note that further
changed appointment may be booked on multiple calendars. variations not discussed
The changes must consequently be communicated to the embodiments. Furthermore,mayno belimitations      employed in Still other
                                                                                                                are intended to
other Software agents So they can update their calendars the details of construction or design herein shown,          other than
respectively. This is true also of other types of events in the as described in the claims below. It is therefore evident    that
process flow.                                                  35 the particular embodiments disclosed above may be altered
   In the illustrated embodiment, the invention is imple or modified and all Such variations are considered within the
mented using object oriented programming (“OOP”) tech Scope and Spirit of the invention. Accordingly, the protection
niques, although the invention may be implemented using Sought herein is as Set forth in the claims below.
techniques that are not object oriented. The Software agents        What is claimed:
265 are implemented as objects and are intelligent, State 40 1. A method for Scheduling in an automated manufactur
aware, and are imbued with Specific goals for which they ing environment, comprising:
autonomously initiate behaviors to achieve. Their behavior           automatically detecting an occurrence of a predetermined
is relatively simple and is partially configurable through              event in an integrated, automated process flow;
Scripts and properties. The behavior is designed to achieve          automatically notifying a Software Scheduling agent of the
Selected goals. Such as achieving an assigned lot due date, 45          occurrence; and
achieving a predefined level of quality, maximizing machine          reactively Scheduling an action from the Software Sched
utilization, and Scheduling opportunistic preventive mainte             uling agent responsive to the detection of the predeter
nance. The helper class is a class of objects to which various          mined event.
objects that are Software agents 265 delegate various respon        2. The method of claim 1, wherein automatically detect
Sibilities or that provide Some useful Service in the proceSS 50 ing the occurrence of the predetermined event includes
flow 100. Publishers and listeners, mentioned above, are          detecting an unplanned event or an unexpected event.
also helper class objects.                                          3. The method of claim 1, wherein automatically detect
   Thus, Some portions of the detailed descriptions herein ing the occurrence of the predetermined event includes
are presented in terms of a Software implemented proceSS detecting an occurrence of an appointment State change.
involving Symbolic representations of operations on data 55 4. The method of claim 3, wherein automatically detect
bits within a memory in a computing System or a computing ing the appointment State change includes detecting at least
device. These descriptions and representations are the means one of an appointment cancellation, an appointment expan
used by those in the art to most effectively convey the Sion, an appointment shrinking, an appointment abort, an
Substance of their work to others skilled in the art. The         appointment changing Status, an appointment shift, an
proceSS and operation require physical manipulations of 60 appointment override, an transport time update, a load time
physical quantities. Usually, though not necessarily, these update, an unload time update, a lot joining a batch, a lot
quantities take the form of electrical, magnetic, or optical leaving a batch, canceling a lot from a batch, and a com
Signals capable of being Stored, transferred, combined, com mitment window update.
pared, and otherwise manipulated. It has proven convenient           5. The method of claim 1, wherein automatically detect
at times, principally for reasons of common usage, to refer 65 ing the predetermined event includes detecting at least one
to these signals as bits, values, elements, Symbols, charac of an appointment cancellation, an appointment expansion,
ters, terms, numbers, or the like.                                an appointment Shrinking, an appointment abort, an appoint
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ment becoming active, an appointment nearing completion, an alarm firing for an appointment Start time and an alarm
an appointment completing, an appointment shift, an firing for an appointment end time.
appointment override, and a commitment window update,                 14. An automated manufacturing environment, compris
detection of a downtime occurrence; a machine becoming ing:
available; a PM/Oual being detected; a chamber going 5 an integrated, automated process flow; and
down; a chamber becoming available, a change in machine               a computing System, including a plurality of Software
capabilities, a change in machine types, an addition of a                Scheduling agents residing thereon, the Software Sched
process, an addition of a proceSS operation; a lot arriving at          uling agents being capable of reactively Scheduling
a machine; a lot process changed, a lot placed on hold, a lot            appointments for activities in the process flow respon
released from hold, a lot priority changed, a lot due date               Sive to an automatic detection and notification of a
changed, a lot wafer count changed, a lot proceSS operation              plurality of predetermined events.
changed, a lot departing a machine, an alarm firing for an            15. The automated manufacturing environment of claim
appointment start time and an alarm firing for an appoint          14, further comprising a plurality of publishers and Sub
ment end time.                                                     Scribers capable of detecting an occurrence of one of the
   6. The method of claim 1, wherein automatically notify 15 predetermined events in the process flow and notifying one
ing the Software Scheduling agent of the occurrence of the Software Scheduling agent of the occurrence.
includes:                                                             16. The automated manufacturing environment of claim
   Sending an indication of the occurrence to a publisher,         15, wherein the automatic detection of the predetermined
   publishing the occurrence from the publisher to a Sub event includes detecting an unplanned event or an unex
      Scribing listener; and                                       pected event.
   calling the Software Scheduling agent from the Subscrib            17. The automated manufacturing environment of claim
      ing listener.                                                15, wherein the automatic detection of the predetermined
   7. The method of claim 1, wherein reactively scheduling event includes detecting an occurrence of an appointment
the action includes at least one of aborting a Scheduled State change.
appointment in progreSS, canceling a Scheduled appointment 25 18. The automated manufacturing environment of claim
duration of a Scheduled appointment; shrinking the duration 15, wherein the automatic notification of the Software sched
of a Scheduled appointment; shifting a Scheduled appoint uling agent of the occurrence includes:
ment; adding new processing capabilities, deleting old pro            Sending an indication of the occurrence to a publisher;
cessing capabilities, Setting an alarm; canceling an alarm;           publishing the occurrence from the publisher to a Sub
and changing the Status of an appointment.                               Scribing listener; and
   8. The method of claim 1, further comprising proactively           calling  the Software scheduling agent from the Subscrib
scheduling an appointment with which the predetermined                   ing listener.
event is associated.
   9. The method of claim 8, wherein proactively scheduling           19. The automated manufacturing environment of claim
the appointment includes proactively Scheduling the 35 15, wherein reactively Scheduling the action includes at least
appointment from the Software Scheduling agent.                    one of aborting a Scheduled appointment in progress, can
   10. The method of claim 1, wherein detecting the occur celing   a  new
                                                                           a Scheduled appointment before it begins, Scheduling
                                                                             appointment; Starting a Scheduled appointment;
rence of the predetermined event includes detecting an expanding                the duration of a Scheduled appointment, Shrink
occurrence of a factory State change.                              ing  the  duration   of a Scheduled appointment, shifting a
   11. The method of claim 10, wherein automatically 40
detecting the factory State change includes detecting at least Scheduled       appointment; adding new processing capabilities,
                                                                   deleting old processing capabilities, Setting an alarm; can
one of detection of a downtime occurrence, a machine
becoming available; a PM/Qual being detected; a chamber celing an alarm; and changing the Status of an appointment.
going down; a chamber becoming available, a change in                20. The automated manufacturing environment of claim
machine capabilities, a change in machine types, an addition 45 15, further comprising proactively Scheduling an appoint
of a process, an addition of a process operation; a lot arriving ment with which the predetermined event is associated.
at a machine; a lot process changed, a lot placed on hold, a         21. The automated manufacturing environment of claim
lot released from hold, a lot priority changed, a lot due date 15, wherein the automatic detection of the predetermined
changed, a lot wafer count changed, a lot proceSS operation event includes detecting an occurrence of a factory State
changed, and a lot departing a machine.                         50 change.
   12. The method of claim 1, wherein detecting the occur            22. The automated manufacturing environment of claim
rence of the predetermined event includes detecting an 15, wherein the automatic detection of the predetermined
occurrence of an alarm event.                                      event includes detecting an alarm event.
   13. The method of claim 12, wherein automatically
detecting the alarm event includes detecting at least one of
